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View: Results List | Full

Public Records > Voter Registration > Search Results > Voter Registration Report

Terms: first-name(Sally) last-name(Albright) city(Washington) state(DC) zip code(20024) ( Edit Search | New Search )

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Further Searches

Locate a Person (Nationwide) Voter Registrations

Red Properly 1. District of Columbia Voter Registration

Registrant Information

Name:
Residential Address:

Home Phone:
SSN:
Date of Birth:
Age:

Voter Information

Registration Date:
Last Vote Date:
Party Affiliation:
Active Status:

ALBRIGHT, SALLY LAMAR

507 GST SW

WASHINGTON, DC 20024-2723
D.C COUNTY

2024214555

XXX-XX-KKXK

@aisv

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08/16/2007
11/03/2020
DEMOCRAT
ACTIVE
